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 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF NEVADA
 9
10 In Re: Marathon Digital Holdings, Inc.            Lead Case No. 2:22-cv-00305-RFB-NUK
11 Stockholder Derivative Litigation                 Consolidated With Case No.:
12                                                   2:22-cv-00724-ART-EJY

13                                                   PLAINTIFFS’ NOTICE OF VOLUNTARY
                                                     DISMISSAL WITHOUT PREJUDICE
14
15
16          NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Civil Procedure

17   41(a)(1)(A)(i), Plaintiffs Kimberly Bernard and Roy Strassman (“Plaintiffs”), hereby

18   voluntarily dismiss the above-captioned action, without prejudice.      As grounds thereof,

19   Plaintiffs state that no opposing party has either served an answer or a motion for summary

20   judgment. Neither Plaintiffs nor their counsel has or will take anything from the dismissal of

21   this action without prejudice.

22          Dated: November 22, 2022

23                                                           MATTHEW L. SHARP, LTD.

24
                                                                    /s/ Matthew L. Sharp
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 1                                    CERTIFICATE OF SERVICE
 2       Pursuant to FRCP 5(b), I hereby certify that I am an employee of MATTHEW L. SHARP,
 3 LTD., and that on this date, I electronically filed the foregoing with the Clerk of the Court by using
 4 the CM/ECF system which will send a notice of electronic filing to:
 5       James J. Pisanelli, Esq.: JJP@pisanellibice.com
 6       Debra L. Spinelli, Esq.: DLS@pisanelliice.com
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 9       Caroline Hickey Zalka, Esq.: caroline.zalka@weil.com
10                            DATED this 22nd day of November 2022.
11
12                                                          /s/ Cristin B. Sharp
                                                      An employee of Matthew L. Sharp, Ltd.
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